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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

MCCALL LAW FIRM, PLLC, on                           )
behalf of itself and all other entities             )
and persons similarly situated,                     )
                                                    )
        Plaintiff,                                  )
                                                    )
vs.                                                 )      Case No.: 4:15-CV-737 KGB
                                                    )      JURY DEMANDED
CRYSTAL QUEEN, INC., d/b/a                          )      Judge Baker
CRYSTAL TRAINING; and                               )
RUDOLF GALAN; and                                   )
ADRIANA GALAN; and                                  )
JOHN DOES 1-10, intending to refer to               )
those persons, corporations, or other legal         )
entities that acted as agents, consultants,         )
independent contractors or representatives,         )
                                                    )
        Defendants.                                 )

      MOTION TO COMPEL AGAINST DEFENDANTS CRYSTAL QUEEN, INC.,
              D/B/A CRYSTAL TRAINING AND RUDOLF GALAN
                 AND POINTS OF AUTHORITY IN SUPPORT

        Comes now the Plaintiff, who moves under Federal Rule of Civil Procedure 37 for an

order compelling discovery from Defendants in the above-styled matter, and states as follows:

        1.       Plaintiff served discovery requests on Defendant Crystal Queen, Inc., d/b/a

Crystal Training (“Crystal Queen”) on March 30, 2017 (Requests for Production) and on May

31, 2017 (Requests for Interrogatories and Requests for Admissions). Plaintiff served discovery

requests on Defendants Rudolf and Adriana Galan (“Galans”) on June 20, 2017. A true and

correct copy of all of the discovery requests and corresponding objections are attached hereto as

Exhibit A-D. Following a number of extensions afforded to the Defendants, the parties agreed

that Crystal Queen’s Responses would be produced on or before July 7, 2017, and Defendant

Galans’ Responses would be produced on or before July 25, 2017.
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       2.       However, in lieu of any Responses, on July 7, 2017 Defendant Crystal Queen

instead provided Plaintiffs with a blanket objection to responding to any of the interrogatories or

requests for production under the purported authority of the Ontario Business Records Protection

Act (“O.B.R.P.A.”) and the Canadian Personal Information Protection and Electronic Documents

Act (“P.I.P.E.D.A.”). Substantially-similar responses were received from the Galans on July 25,

2017, with the exception that Defendant Adriana Galan asserted that notwithstanding her blanket

objections, she has no responsive documents.

       3.       On July 24, 2017, Plaintiff wrote Defendants a good faith demand noting that,

even assuming the purported applicability of these two foreign statutes with regard to the

requested information and documentation, the undisputed facts of this case clearly show that an

overwhelming number of responsive facts and documents objectively do not fall within the

confines of either of the foregoing statues. Accordingly, in a good faith attempt to avoid Court

intervention, the Plaintiffs made demand for production of all documents and information not

covered by O.B.R.P.A. or P.I.P.E.D.A., particularly those concerning information and documents

transmitted into and/or maintained in the United States.    Counsel for the parties subsequently

conducted a telephonic meet-and-confer conference on August 2, 2017 in a good-faith attempt to

resolve this discovery dispute, after which Plaintiff gave Defendants a deadline to supplement

their discovery responses of August 7, 2017.        Counsel for the parties conducted a second

telephonic meet-and-confer conference on August 9, 2017, during which it was made clear that

the parties were at impasse on this issue.

       4.       In response to the above good faith demand and despite numerous conferences

attempting to resolve the dispute, no responsive information and documents whatsoever were

produced to any of Plaintiffs’ discovery by Defendants Crystal Queen or Rudolf Galan.



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       5.       For the reasons set forth below, Plaintiffs respectfully request an Order

compelling Defendants Crystal Queen and Rudolf Galan to produce all responsive information

and documents not covered by O.B.R.P.A. or P.I.P.E.D.A. Plaintiffs respectfully submit that the

undisputed facts of this case document that a wealth of responsive information and documents

objectively do not fall within the scope of either the foregoing as they concern testimony from

these Defendants which need not be derived from any covered document, and documents which

have been transmitted and/or are maintained in the United States.

       6.       Additionally, based upon these Defendants’ refusal to respond to even a single

discovery request, even those which request responsive information and documents objectively

outside the purported confines of O.B.R.P.A. or P.I.P.E.D.A., Plaintiffs request an award of their

attorney’s fees and costs for the prosecution of this Motion to Compel.

       7.       Finally, Plaintiffs would note that concurrent with the instant Motion to Compel,

they are requesting Letters Rogatory from this Court so that any remaining documents which are

legitimately covered by O.B.R.P.A. or P.I.P.E.D.A. may be procured through an appropriate

Canadian Court Order.

                                         ARGUMENT

       8.       An apt summary of the relevant geographic and exclusivity of requirements of

O.B.R.P.A. can be found in Affordable Healthcare, LLC vs. Protus I.P. Solutions, Inc. 2009 U.S.

Dist. LEXIS 30461. Notably, the defendants in Affordable Healthcare were represented by the

same counsel of Record as the case at bar.

       9.       As noted by the Court in Affordable Healthcare O.B.R.P.A., “prohibits the

removal of any business record, statement, report or material in any way related to any business

carried on in Ontario from the province of Ontario if the documents in question are maintained



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solely in Ontario.” The Court went on to note that based on the foregoing, “this prohibition may

also bar a business from providing a list of the protected documents or divulging information that

is derived exclusively from those documents.”

       10.     In the case at bar, it cannot seriously be disputed that an overwhelming majority

of the responsive information and documents sought by the Plaintiff do not fall within the

geographic or exclusivity of requirements of O.B.R.P.A. As this Court has already adjudicated,

Defendants carried out their domestic document transactions in the United States (1) through a

UPS Store located in Ogdensburg, NY, (2) various hotels, convention centers, and payment

processing vendors throughout the United States where they distributed their alleged training

materials and/or paid their contractors, and (3) through the allegedly illegal faxes at issue in this

case which were transmitted to thousands of United States residents. The foregoing constitutes

the heart of both the Class discovery and substantive discovery sought by Plaintiffs’

interrogatories and requests for production. This information and the documents from which

they were derived, were transmitted in every instance into the United States to both the members

of the Plaintiffs’ Class and hundreds of contractors, hotels, payment processing companies and

other venues throughout the U.S.A. who, upon information and belief, Defendants have control

with regards to acquisition, reproduction, and/or production the responsive information and

documents.. As such, Defendants cannot plausibly claim that the foregoing information and

documents have been “maintained solely in Ontario” or that the information requested can only

be derived “exclusively” from documents “maintained solely in Ontario.”

       11.     A similar analysis applies with regard to P.I.P.E.D.A.         P.I.P.E.D.A contains

numerous exceptions which encompass responsive information and documents sought in this

case, most notably, as described above, information and documents transmitted into and/or



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maintained in the U.S.A. over which Defendants maintain the ability of possession, reproduction,

or control. The same holds true with regard to responsive testimony from Defendants that exists

independent of allegedly protected documents. In addition, P.I.P.E.D.A specifies exceptions for

certain “business contact information” which P.I.P.E.D.A defines as “any information that is

used for the purpose of communicating or facilitating communication with an individual in

relation to their employment, business or profession such as the individual’s name, position,

name of title, work address, work telephone number, work fax number, or work electronic

address.” Ch.5,S.2 and S.4.01 (emphasis added).

       12.    In sum, both foreign statutes cited by the Defendants as a purported blanket

objection to responding to any discovery whatsoever in this case cannot possibly be legitimate

given Defendants’ admitted conduct of transmitting information and documents throughout the

United States to and through domestic individuals and entities who, upon information and belief,

Defendants have the ability to exert control with regard to the production of such information

and documents. (e.g. copies of faxes transmitted in the United States, copies of executed

contracts with United States entities such as individual contractors, hotels, credit card, or

payment processing companies - all of whom have corresponding copies of the forgoing in the

United States and/or many of whom, upon information and belief, are subject to Defendants

control with regard to a directive to produce such information and documents). Unfortunately,

Plaintiffs are unable to request with specificity the aforementioned information and documents

which fall outside the geographical, exclusivity, or other exceptions or O.B.R.P.A. or

P.I.P.E.D.A, or to subpoena these domestic individuals and entities directly, as Defendants

Crystal Queen and Rudolf Galan have refused to provide any information or documents in this

case despite the objective inapplicability of O.B.R.P.A or P.I.P.E.D.A to domestic information



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and documents in the United States over which Defendants maintain rights of possession,

reproduction, or control.

       13.     Accordingly, Plaintiffs respectfully request an Order of the Court that simply

orders Defendants Crystal Queen and Rudolf Galan to produce all information and documents

responsive to Plaintiffs’ interrogatories and requests for production that (1) were transmitted into

the United States of America, (2) are maintained, either in their original or reproduced form, in

the United States of America, and over which Defendants Crystal Queen and Rudolf Galan have

a right of reproduction, control, or production, or (3) reflect personal knowledge of the

Defendants which need not be derived solely from documents governed by O.B.R.P.A. or

P.I.P.E.D.A.   Again, Plaintiff's are contemporaneously requesting Letters Rogatory from this

Court so that a Canadian Court order can be issued with regard to any responsive documents

legitimately protected by O.B.R.P.A. or P.I.P.E.D.A in this case, if any. However, in the

interim, and given the objective existence of a host of responsive information and documents not

covered by O.B.R.P.A. or P.I.P.E.D.A., Defendants Crystal Queen and Rudolf Galan are not

entitled to simply refuse to participate in the discovery process under the Federal Rules of Civil

Procedure.

       WHEREFORE, Plaintiffs respectfully request an Order of the Court requiring

Defendants to produce, in verified form, all information and documents responsive to Plaintiffs’

interrogatories and requests for production that (1) were transmitted into the United States of

America, (2) are maintained, either in their original or reproduced form, in the United States of

America, and over which Defendants Crystal Queen and Rudolf Galan have a right of

reproduction, control, or production, or (3) reflect personal knowledge of the Defendants which




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need not be derived solely from documents governed by O.B.R.P.A. or P.I.P.E.D.A. Plaintiffs

also request an award of their attorneys’ fees and cost for the prosecution of the instant Motion.

        CERTIFICATION OF GOOD-FAITH EFFORT TO RESOLVE DISPUTE

       In filing this motion, the moving party certified under L.R. 7.2(g) that the parties

have conferred in good faith on the specific issue or issues in dispute and that they are not able to

resolve their disagreements without the intervention of the Court.



DATED: September 7, 2017               Respectfully Submitted,

                                              /s/ Joe P. Leniski, Jr.___________
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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on September 7, 2017 a copy of the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system, which will send

notification of such filing to all parties of record.


                                                /S/Joe P. Leniski, Jr.
                                                Joe P. Leniski, Jr.




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